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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION
          FMIO, INC. a Michigan corporation and
          RICHARD A. GARST,
                      Plaintiffs,                             File No: 2:09-cv-12561
          v

          TOWNSHIP OF SUMMERFIELD MICHIGAN, a Hon. BERNARD A. FRIEDMAN
          Michigan municipal corporation, KEVIN R. IOTT in
          his official and individual capacities, TAMMY
          BLEASKA in her official and individual capacities,
          JOAN WIEDERHOLD, in her official and individual
          capacities, DALE WAGENKNECHT in his official
          and individual capacities JAMES V. SEEGERT, in
          his official and individual capacities, AMY REITER,
          in her official and individual capacities, RICHARD
          KORALESKI in his official and individual capacities,
          DAVID GRUDE, in his official and individual
          capacities, JOSEPH STANGER in his official and
          individual capacities, LINDA DIESING in her official
          and individual capacities MICHAEL STRAHAN in his
          official and individual capacities, jointly and
          severally,
                         Defendants
          Cindy Rhodes Victor (P33613)
          The Victor Firm, PLLC
          Attorney for Plaintiffs
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          Sterling Heights, MI 48310
          Telephone: 586-274-9600

          Frederick Lucas (P29074)
          R. Scott A. Baker (P62511)
          Lucas & Baker
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                                       DEFENDANTS’ WITNESS LIST

                   Defendants, Township of Summerfield Michigan, Kevin R. Iott Tammy Bleaska,


                                                                                       7577 US Highway 12, Suite A
                                                                                           Onsted, Michigan 49265
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          Joan Wiederhold, Dale Wagenknecht, James V. Seeger, Amy Reiter, Richard

          Koraleski, David Grude, Joseph Stranger, Linda Diesing, and Michael Strahan, by their

          attorneys, Lucas & Baker disclose the following witnesses:


          1.       Kevin R. Iott
                   5670 Sylvania-Petersburg Road
                   Petersburg, MI 49270

          2.       Tammy Bleaska,
                   18401 Todd Road
                   Petersburg, MI 49270

          3.       Joan Wiederhold
                   15558 Rauch Road
                   Petersburg, MI 49270

          4.       Dale Wagenknecht
                   7631 Summerfield Road
                   Petersburg, MI 49270

          5.       James V. Seegert
                   4949 Summerfield Road
                   Petersburg, MI 49270

          6.       Amy Reiter
                   PO Box 98
                   Petersburg, MI 49270

          7.       Richard Koraleski
                   PO Box 98
                   Petersburg, MI 49270

          8.       David Grude
                   PO Box 98
                   Petersburg, MI 49270

          9.       Joseph Stanger
                   PO Box 98
                   Petersburg, MI 49270

          10.      Linda Diesing
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                   Petersburg, MI 49270


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          11.      Michael Strahan
                   PO Box 98
                   Petersburg, MI 49270

          12.      Michael Mihalec
                   Township Ordinance Officer
                   PO Box 98
                   Petersburg, MI 49270

          13.      Paul DeLisle
                   520 Ready Rd
                   Carleton, MI 48117

          14.      Zelda Lucas
                   Former Township Supervisor
                   26 Saline St
                   Petersburg, MI 49270

          15.      Howard Keinath
                   20966 Lulu Road
                   Deerfield, MI 49238

          16.      Nick Lucas
                   26 Saline St
                   Petersburg, MI 49270

          17.      Randy LaRocca
                   15106 Bentwood Trail
                   Petersburg, MI 49270

          18.      Detective Alison D. King
                   Michigan State Police

          19.      Peter Fales
                   707 Westwood
                   Monroe, MI 48161

          20.      David Kottke
                   30 E Division St
                   Petersburg, MI 49270

          21.      Jack Lange
                   10753 Jackman Road
                   Temperance, MI 48182




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          22.      Conly Crossley
                   212 E 1st St
                   Monroe, MI 48161

          23.      Mark LaRocca
                   6490 Teal Rd
                   Petersburg, MI 49270

          24.      Richard Garst

          25.      Dorothy Garst

          26.      Flip Reiter

          27.      Any and all witnesses listed by plaintiffs whether or not called to testify at time of
                   trial.

          28.      Any and all individuals whose names appear in deposition transcripts, answers
                   to interrogatories, or responses to requests for production of documents in this
                   case.

          29.      Any and all rebuttal witnesses.

          30.      Any and all witnesses revealed in further discovery.

          31.      Defendants reserves the right to amend this list.

          EXPERT WITNESSES

          1.       Robert Walworth
                   Valuation expert
                   Walworth & Nayh PC
                   17800 Newburgh, Suite 101
                   Livonia, MI 48152

          2.       Richard Carlisle
                   Land Use Planning expert
                   Carlisle & Associates, Inc.
                   605 S. Main St., Ste. 1
                   Ann Arbor, MI 48104

          3.       Donald J. Helser
                   Real Estate Appraiser
                   125 Ruff Dr
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          4.       Rhett Gronevelt
                   Township Engineer
                   Orchard, Hiltz & McCliment, Inc.
                   34000 Plymouth Road
                   Livonia, MI 48150

          Dated: December 30, 2009                    Lucas & Baker
                                                      s/Frederick Lucas
                                                      Frederick Lucas (P29074)
                                                      Lucas & Baker
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                                          CERTIFICATE OF SERVICE

                   I hereby certify that on January 4, 2010, I electronically filed the foregoing paper

          with the Clerk of the Court using the ECF system which will send notification of such

          filing to the following: Cindy Rhodes Victor.

                                                      s/Frederick Lucas
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